      Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 1 of 13 PageID #:282




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

    UNITED STATES OF AMERICA
                                               Case No.: 19 CR 733
          v.
                                               Magistrate Judge Maria Valdez
    RICK OWEN and
    JERY BARTON

      UNITED STATES’ MEMORANDUM IN SUPPORT OF A FINDING OF
                        PROBABLE CAUSE

         On November 7 and 14, 2019, the Court held a preliminary hearing on the

complaint as to defendants Rick Owen and Jery Barton.1 The government offered the

testimony of Special Agent Joseph Villa of IRS, and relied on one exhibit, marked

Government’s Exhibit 1, which is the filed complaint in this case. The testimony at

the hearing, and the allegations in the affidavit in support of the complaint,

demonstrate probable cause that the defendants committed the money laundering

conspiracy offense as charged.

I.       LEGAL STANDARD

         The sole purpose of a preliminary hearing is to determine whether there is

“probable cause to believe an offense has been committed and the defendant

committed it.” Fed. R. Crim. P. 5.1(e). The test for probable cause is whether – under

the totality of the circumstances – it is reasonable to believe that the defendant

committed a crime. United States v. Evans, 27 F.3d 1219, 1228 (7th Cir. 1994). The

Seventh Circuit has said that probable cause is “a flexible, practical common-sense


1   Defendant Erick Bustamante waived his right to a preliminary hearing. ECF No. 43.
      Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 2 of 13 PageID #:282




standard that is met if the facts are sufficient to warrant a person of reasonable

caution to believe that an offense has been . . . committed.” United States v. Rosario,

234 F.3d 347, 350 (7th Cir. 2000). Courts must “make a practical, common sense

decision whether, given all the circumstances . . . , there is a fair probability” that the

defendant committed the crime. Illinois v. Gates, 462 U.S. 213, 238 (1983).

II.     THE EVIDENCE DEMONSTRATES PROBABLE CAUSE THAT DEFENDANTS
        PARTICIPATED IN A MONEY-LAUNDERING CONSPIRACY AS CHARGED.

        Defendants are charged with participating in a money-laundering conspiracy,

in violation of Title 18, United States Code, Section 1956(h). The crime of money-

laundering conspiracy requires proof that (i) the defendant was knowingly involved

with at least one other person for the purpose of money laundering, and (ii) that he

knew the proceeds used to further the scheme were derived from an illegal activity.

United States v. Turner, 400 F.3d 491, 496 (7th Cir. 2005); see also United States v.

McBride, 724 F.3d 754, 756–57 (7th Cir. 2013). The agreement need not be explicit,

and it may be proved by circumstantial evidence. Turner, 400 F.3d at 496. The

substantive offense of money laundering requires proof that the defendant engaged

or attempted to engage in a financial transaction, knowing that it involved the

proceeds of specified unlawful activity, and that the defendant knew that the

transaction was designed to conceal the source, nature, location, ownership, or control

of the proceeds. Id.

        Knowledge that the proceeds are derived from an illegal activity can be actual

or constructive, by a showing of conscious avoidance of actual knowledge. Turner, 400

F.3d at 497. The question is not whether a defendant “knew the actual source of the



                                            2
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 3 of 13 PageID #:282




funds, merely whether he knew they were the proceeds of some illegal activity.” Id.

In Turner, the Seventh Circuit identified some “shady acts” which proved defendant

was aware of the illicit source of the funds, including (1) the delivery of large sums of

cash, (2) instructions to destroy documents, and (3) the fact that he was approached

by investigators at least twice. Id. at 497–98. The court concluded that “it is silly to

suggest that [defendant] did not know that he was dealing with ill-gotten funds,” id.

at 498, and that “any reasonable person watching all of these strange dealings would

clearly believe something was amiss,” id.

      The evidence set forth in the complaint and the testimony at the preliminary

hearing shows that there is probable cause to believe that defendants participated in

a money-laundering conspiracy. While they cross-examined the government’s

witness, neither defendant called any witnesses of their own. Defendant Barton

offered six exhibits—five of which were bank statements offered solely in support of

a flawed argument that the Northern District of Illinois is an improper venue. As

described below, the evidence supports probable cause that Owen and Barton were

members of a money-laundering conspiracy along with co-defendant Bustamante.

      A.     Probable Cause that Owen Participated in the Charged
             Conspiracy

      The evidence shows that Owen’s role in the conspiracy was in part to find

accountholders who would allow the use of their bank accounts to launder funds, and

to assist Bustamante in traveling across the United States collecting narcotics

proceeds to launder. See Ex. 1 ¶ 5(b).




                                            3
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 4 of 13 PageID #:282




      For example, Owen identified CS2 as someone who could provide an account

to be used for money laundering, and introduced Bustamante to CS2 for that purpose.

Id. ¶ 13(b). Between August 2017 and February 2019, at least $2,661,050 in cash was

laundered that account, which CS2 described as illicit proceeds. Id. ¶¶ 13(d) and (h).

Owen’s involvement continued, after Bustamante and other associates began using

CS2’s Company A Bank Account to launder illicit proceeds. CS2 stated that Owen

instructed CS2 where to transfer the proceeds after they were deposited into the

Company A Bank Account. Id. ¶ 13(f).

      The evidence also shows that Owen participated in the charged conspiracy by

making travel arrangements for Bustamante, to help him travel throughout the

United States to collect and deposit narcotics proceeds. For example, on or about April

25, 2019, Owen helped Bustamante make arrangements to travel from Boston to

Detroit. Ex. 1 ¶ 132. Law enforcement later observed Bustamante arrive in Detroit,

and travel to Wire Transfer Business B in Grand Rapids, where he dropped off the

proceeds. Id. ¶¶ 135–36. A later search of Wire Transfer B resulted in the seizure of

approximately $180,925 in U.S. currency there. Id. ¶ 137. Owen later helped

Bustamante travel to: (i) Louisville Kentucky on or about April 13, 2019, id. ¶¶ 85–

88; (ii) Chicago, on or about April 15, 2019, id. ¶ ¶ 113–15; and (iii) Chicago, on or

about May 15, 2019, id. ¶¶ 189–90; all for the purpose of collecting narcotics proceeds.

      Owen made the transportation arrangements for Bustamante knowing the

purpose of his travel. For example, in an April 15, 2019 conversation between

Bustamante and Owen, Bustamante advised that he was in Columbus and traveling




                                           4
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 5 of 13 PageID #:282




to Chicago. Id. ¶ 115(a). Owen asked, “the pick-ups went okay?” Id. ¶ 115(b) and

acknowledged that “we’re not making make any money off anything with Lalo.” Id.

Later, Bustamante told Owen that he was traveling to Michigan because “I have to

give it [narcotics proceeds] to one of Lalo’s contacts.” Id. ¶ 132. Bustamante

subsequently advised Owen that he was dropping off “Lalo’s stuff” in Grand Rapids.

Id. ¶ 136.

      Second, the evidence shows that Owen knew about the illegal nature of the

money. In an April 3, 2019 conversation between Bustamante and Owen, Owen asked

“what’s our stories about the origins” of money that was going to be deposited into

Barton’s accounts. Owen explained, “you can’t say cannabis” as the source of the

funds. Bustamante told him to “make something up,” so Owen suggested that they

would say that it was from the sale of “farm equipment.” Ex. 1 ¶ 48(b). Owen knew

that the funds were derived from the sale of narcotics, and devised a false story to

explain to bankers if they asked about the source of the funds. Owen directly

participated in concealing the source, nature, location, ownership, or control of the

proceeds himself by creating a false story about the true source of the proceeds.

      In another call on April 15, 2019, Bustamante told Owen that Bustamante had

gotten a gun pulled on him and was accused of being a DEA informant. Ex. 1 ¶ 106(a).

Bustamante continued, saying that “the guys from Colombia” vouched for

Bustamante, and advised that he was not working for DEA. Id. Bustamante ended

that conversation by advising Owen, “it’s getting very complicated but everybody

that’s not part of Lalo’s group are still looking at us.” Id. The evidence further




                                          5
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 6 of 13 PageID #:282




demonstrates that Owen was aware that Lalo is associated with illegal activity. In a

June 7, 2019 conversation between Owen and Bustamante, Bustamante said, “you

have no idea the attention that you guys are under, because other guys have stolen

half a million, 300 grand. It’s a total of 2 million dollars that people have taken from

Lalo’s group. So, if he thinks he’s gonna get away from not paying back the money, .

. . he really doesn’t understand who these people are, man.” Id. ¶ 35.

      Furthermore, Owen was aware that law enforcement was investigating places

where he helped his co-conspirator Bustamante travel to. For example, in a July 4,

2019 conversation between Bustamante and Owen, Bustamante told Owen about the

search warrants that law enforcement executed on wire transfer locations in Chicago

and Grand Rapids—both places that Bustamante had dropped off narcotics proceeds.

Ex. 1 ¶ 201. In this same conversation, Owen also learned that law enforcement

seized cash from one of Lalo’s “guys” [money couriers], who was doing a “pick up.” Id.

¶ 201(a).

      The evidence and testimony at the preliminary hearing showed probable cause

that Owen participated in the charged conspiracy by identifying bank accounts to

launder proceeds, and helping Bustamante travel across the country to collect the

proceeds. The evidence also shows that Owen knew that the proceeds were derived

from an illegal activity based on his knowledge that: (i) Bustamante was traveling

across the country making “pick-ups” to deposit in other locations; (ii) Bustamante

was accused of being a DEA informant at gunpoint; and (iii) search warrants had




                                           6
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 7 of 13 PageID #:282




been executed in Chicago and Grand Rapids, at locations where Owen had arranged

for Bustamante to travel to deposit cash.

      B.     Probable Cause That Barton Participated in the Charged
             Conspiracy

      First, the evidence alleged in the complaint and the testimony of the

government witness at the preliminary hearing demonstrate probable cause that

Barton participated in the conspiracy. Barton’s role in the conspiracy was to supply

the bank accounts through which the conspirators conducted the money-laundering

financial transactions. Barton allowed Bustamante and others to deposit cash into

accounts that Barton held at various financial institutions, and then Barton dutifully

transferred those amounts to other accounts as instructed.

      For example, in April 2019, Bustamante and Individual F each deposited cash

($45,000 and $34,400 respectively) into Barton’s Huntington IOLTA account. Ex. 1

¶ 50. Within days of those deposits, Bustamante instructed Barton to transfer a

portion of those deposits into the Company B account. Id. ¶ 51. During that

conversation, Bustamante advised Barton that it was “a dealer” who had deposited

$34,400 cash into Barton’s IOLTA account. Barton acted as instructed and

transferred the sums, without even knowing what Company B was. Id. (Barton asks

Bustamante, “Who is [Company B] exactly by the way?”). The fact that Barton himself

didn’t know the destination of the money that he himself transferred, combined with

all the other indications of illegality, demonstrate that Barton knew the transactions

were designed to conceal the source, nature, ownership, or control of the proceeds.




                                            7
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 8 of 13 PageID #:282




      The pattern of large cash deposits into Barton’s IOLTA accounts, quick

turnaround times from deposit to outbound transfer, the acknowledgment that an

individual previously unknown to Barton was “a dealer” who had deposited tens of

thousands of dollars in cash into Barton’s account, and the fact that Barton did not

know to whom he was transferring the funds, all support probable cause that Barton

knew that he was participating in money laundering transactions with Bustamante,

and that these transactions were not associated with legitimate legal clients.

      Second, the evidence shows probable cause that Barton knew that the proceeds

were derived from an illegal activity, specifically the sale of narcotics. As described

in the complaint, Bustamante and Barton discussed the activities of Lalo, whom

Barton knew to be an owner of funds that were deposited into Barton’s accounts. In

an August 9, 2019 conversation, Bustamante inquired about setting up a new bank

account through which they could “process cash” and “be able to exit [transfer out]

the funds within 48 hours, 72 hours.” Id. ¶¶ 36(a) and (b). Barton’s response indicated

that he knew exactly what the source of the money was—he said, “it’s gotta be on a

place where they have some experience with those kind of arrangements. Which

would be in one of the states where [u/i] cannabis is legal.” Id. ¶ 36(b). Barton didn’t

say “hemp,” he referred specifically to proceeds from the sale of a controlled

substance—cannabis. Later in that same conversation with Barton, Bustamante

referred to “situations like with Lalo, or with another friend of mine that has

plantations here, and like, ‘I just need deposits and send to Mexico . . . but they’re

giving me a hard time to even put the money into the bank system.” Id. ¶ 36(c). As




                                           8
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 9 of 13 PageID #:282




Agent Villa testified, this indicates that the product—the controlled substance—was

coming from Mexico, not states where the sale of cannabis is legal. Tr. of Prelim. Hr’g

at 100:22 (Nov. 14, 2019).

      Moreover, like the defendant in Turner, there were plenty of “shady acts” that

show probable cause that Barton was aware of the illicit source of the funds. First, on

May 22, 2019, Barton was visited by federal law enforcement agents, who asked him

about one of the money-laundering transactions through his account—a cash deposit

made by Individual F. After the visit, Barton immediately called Bustamante to

reassure him that he “told [the agent] nothing.” Barton also said, “I am concerned.”

Ex. 1 ¶ 62(b). Two weeks later, on June 10, 2019, Barton learned that federal law

enforcement agents had seized thousands of dollars in cash from the same individual,

Individual F, who deposited cash into Barton’s account. Id. ¶ 65(a).

      Barton also received direct inquiries from bank compliance officials

questioning certain deposits that had been made into his Huntington Bank accounts,

which related to his transactions with Bustamante. In a phone call, Barton told

Bustamante that the bank asked about the origins of funds for an $89,000 deposit

that Bustamante had made into Barton’s account. Ex. 1 ¶ 57. The bank also asked

about a June 2018 transfer that Barton conducted from his account to a bank in

Luxembourg, which involved Individual A. Id. Barton specifically indicated that he

did not want to speak to Individual A to collect more information about the

transaction for the bank. Id. ¶ 57(c). Instead, he asked Bustamante to draft an

explanation of the transaction. Id. These circumstances show that Barton knew of




                                          9
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 10 of 13 PageID #:282




the illicit nature of the funds that he was processing through his accounts, even if he

tried to take pains to avoid knowing all the details.

      In another conversation with Bustamante, Barton asked for more information

about Individual F, who had deposited cash into Barton’s account. Barton wanted to

have an explanation prepared for bank officials if they questioned transactions

involving Individual F. Barton asked Bustamante if Huntington Bank would “find

anything bad” about Individual F if they did a background check. Id. ¶ 59(a). When

Bustamante described Individual F as “one of [Lalo’s] runners,” Barton responded

that that response is “not what Huntington [Bank] wants to hear.” Barton asked if

Individual F was “a business associate in some recognizable…?” Id. ¶ 59(b) (emphasis

added). This communication demonstrates that Barton knew that “runner” referred

to illicit trafficking of either narcotics or narcotics proceeds, and he could not disclose

that fact to Huntington Bank. See Ex. 1 ¶ 60.

      “Any reasonable person watching all of these strange dealings would clearly

believe something was amiss.” Turner, 400 F.3d at 498. All of this evidence shows

Barton’s knowledge, despite any attempts he took to avoid learning the actual source

of the funds that he actively helped to flow through his account. Even if, as he claims,

Barton did not know with 100 percent certainty that the money was illegal narcotics

proceeds, the evidence shows that he knew they were the proceeds of some illegal

activity. See Turner, 400 F.3d at 497. Barton’s questions to Bustamante about the

transactions showed both his knowledge and his attempts to avoid learning all the

details of the transactions that he was facilitating through his bank accounts. For




                                            10
    Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 11 of 13 PageID #:282




example, he asked Bustamante to confirm that a particular transfer was “a bona fide

transaction as far as you know.” Ex. 1 ¶ 33. In that same conversation, he

demonstrated again that he had initiated a wire transfer of $35,000 to a destination

unknown to him, but that was “a business that Lalo is in.” Id. Barton’s conduct, his

questions of Bustamante, and his other statements, show his knowing participation

in the conspiracy.

III.   VENUE IS PROPER IN THE NORTHERN DISTRICT OF ILLINOIS

       Defendants’ counsel suggest that venue is improper in the Northern District of

Illinois. That argument ignores basic conspiracy law and the venue provisions of the

money-laundering statute itself.

       Defendants are charged with participating in a money laundering conspiracy,

in violation of 18 U.S.C. § 1956(h). Ex. 1. A prosecution for a money laundering

conspiracy “may be brought in the district where venue would lie for the completed

offense . . . or in any other district where an act in furtherance of the attempt or

conspiracy took place.”2 18 U.S.C. § 1956(i)(2). Under Section 1956(i)(1)(A), the

completed offense of money laundering may be brought in any district in which the

financial or monetary transaction is conducted. For conspiracy charges, “venue is

proper against the defendant in any district where a co-conspirator carried out overt

acts even though there was no evidence that the defendant had entered that district

or that the conspiracy was formed there.” United States v. Ochoa, 229 F.3d 631, 636–




2 In a money-laundering conspiracy, the government is not required to prove any overt acts
in furtherance of the conspiracy. Whitfield v. United States, 543 U.S. 209, 219 (2005).



                                           11
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 12 of 13 PageID #:282




37 (7th Cir. 2000) (quoting United States v. Rodriguez-Moreno, 526 U.S. 275, 281–82

(1999)).

      Here, the evidence introduced at the preliminary hearing included multiple

acts in furtherance of the conspiracy in this district. These acts were committed by

co-defendant and co-conspirator Erick Bustamante, and they were in furtherance of

the conspiracy. On or about August 30, 2017, co-defendant Bustamante traveled to

Chicago to collect and launder money owed as a result of law enforcement’s seizure

of 11 kilograms of heroin. Ex. 1 ¶¶ 9–11. On or about April 16, 2019, Owen helped

Bustamante book ground transportation from Columbus, Ohio to Chicago for the

purpose of depositing narcotics proceeds. As detailed in the complaint, once in

Chicago, Bustamante dropped off proceeds at a wire transfer business in Chicago.

Ex. 1 ¶¶ 113–20. On or about May 7, 2019, Bustamante collected approximately

$40,000 of narcotics proceeds in Aurora, Illinois, and dropped it off at Wire Transfer

Business A in Chicago. Id. ¶¶ 138–50. On or about May 17, 2019, Bustamante

deposited approximately $156,610 at Wire Transfer Business A in Chicago. Id.

¶¶ 192, 195.

      Furthermore, Barton and Owen both knew that Bustamante was conducting

financial transactions in this district in furtherance of the conspiracy. As detailed in

paragraph 139 of the complaint, Bustamante and Barton had a phone conversation

in which Bustamante advised Barton that he was “flying to Chicago.” Barton

indicated he knew full well what Bustamante was doing there—Barton asked him,

“Are you making a deposit today?” Bustamante answered, “No, most likely it’s going




                                          12
   Case: 1:19-cr-00733 Document #: 55 Filed: 12/20/19 Page 13 of 13 PageID #:282




to be tomorrow.” Id. On or about May 17, 2019, Owen again helped Bustamante make

travel arrangements to Chicago for the purpose of depositing cash narcotics proceeds

at the wire transfer business. Id. ¶¶ 189–96. Additionally, Bustamante deposited

currency into Barton’s Huntington Bank account at a branch in Oak Lawn, Illinois,

in this district. Tr. of Prelim. Hr’g, at 39:22 (Nov. 7, 2019); see also Ex. 1 ¶ 70.

       Any one of these four transactions, all of which are overt acts in furtherance of

the money-laundering conspiracy, provides venue in this district.

IV.    CONCLUSION

       As discussed above, the evidence offered at the preliminary hearing

demonstrates that there is probable cause that both defendants Owen and Barton

committed the crime of money-laundering conspiracy as alleged. Both defendants

should be held to answer in the district court for further proceedings.



                                                 Respectfully submitted,

                                                 JOHN R. LAUSCH, JR.
                                                 United States Attorney

                                          By:    /s/ Matthew J. McCrobie
                                                 MATTHEW J. McCROBIE
                                                 Assistant U.S. Attorney
                                                 219 South Dearborn Street, Room 500
                                                 Chicago, Illinois 60604
                                                 (312) 353-5356

Dated: December 20, 2019




                                            13
